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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION


    UNITED STATES OF AMERICA

    v.                                                        Case No. 8:06-cr-499-T-23TGW
                                                                       8:08-cv-223-T-23TGW
    DILIO ANTONIO ESCARRIA-MONTANO
                                                        /


                                                  ORDER

           Escarria’s motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 1) challenges the

    validity of his conviction for conspiracy to possess with intent to distribute cocaine while

    on board a vessel, for which offense Escarria serves 168 months. Escarria pleaded

    guilty pursuant to a plea agreement. The respondent admits that the motion to vacate is

    timely. Response at 3 (Doc. 12) The motion to vacate lacks merit.

                                FACTS AND PROCEDURAL HISTORY1

           On or about November 29, 2006, the defendant along with seven other
           coconspirator crew members, all Colombian nationals, were traveling in
           the Eastern Pacific on the fishing vessel the Mary Valencia. The crew of
           the Mary Valencia had departed the coast of Colombia carrying a cargo of
           108 bales of cocaine. They were spotted approximately 240 nautical miles
           from the nearest land mass, the Malpelo Island, in international waters.
           The Mary Valencia was flying under a Panamanian flag and had markings
           of registration on it. The Panamanian Government was contacted to verify
           registration. The Panamanian Government confirmed Panamanian
           registration of the vessel and granted authority to board and search the
           Mary Valencia. The Colombian Government was also contacted when the
           crew asserted Colombian citizenship. The Colombian Government
           authorized jurisdiction over the prosecution of 6 out of the 8 crew
           members, to include the defendant.



           1
               This summary of the facts derives from the plea agreement. (Doc. 50 at 12-14)
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           On November 29, 2006, a Helo team launched from the USS Thatch
           spotted the Mary Valencia during a routine patrol of the Eastern Pacific.
           The Mary Valencia changed it's course in an effort to elude the Helo
           team's efforts to hail her. The USS Thatch then proceeded to intercept the
           Mary Valencia.

           As the USS Thatch approached the Mary Valencia it went dead in the
           water and the crew members were observed attempting to scuttle the
           vessel by setting it on fire. As a result there was a violent explosion that
           resulted in the severe injuries of several of the crew members. The crew
           members jumped into the water and were rescued by a USS Coast Guard
           Boarding Team dispatched from the USS Thatch for the purpose of
           rendering assistance to the crew members in the water. Once they
           accounted for all of the crew members in the water, the Coast Guard
           Boarding Team boarded the Mary Valencia to search for other crew
           members who may have been injured and still on the boat and to assess
           the damage.

           A search of the vessel revealed that the crew had attempted to set the
           boat on fire by stuffing the fuel tank with fuel soaked rags and pouring
           gasoline on the deck of the boat. A further search revealed a hidden
           compartment on the Mary Valencia in which was found 108 bales of a
           substance that tested positive for cocaine.

           The Defendant's presence on the vessel was part of an unlawful
           agreement with others to possess with intent to distribute five (5) or more
           kilograms of cocaine. The Mary Valencia was seized with approximately
           2700 kilos of cocaine on board and the Defendant and 5 co-conspirators
           were taken into custody by the Coast Guard with the Middle District of
           Florida being the place at which the defendant and co-defendants entered
           the United States. The other two crew men most severely injured in the
           explosion were returned to Colombia for treatment and prosecution.

           Escarria's plea agreement contains a waiver of right to appeal or collaterally

    challenge his sentence, which waiver provision is standard in this district. Nevertheless,

    Escarria appealed. The circuit court enforced the waiver provision by dismissing the

    appeal. (Doc. 207) Escarria's motion to vacate challenges the effectiveness of both

    trial and appellate counsel.




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                          INEFFECTIVE ASSISTANCE OF COUNSEL

           Escarria claims ineffective assistance of counsel, a difficult claim to sustain.

    "[T]he cases in which habeas petitioners can properly prevail on the ground of

    ineffective assistance of counsel are few and far between." Waters v. Thomas, 46 F.3d

    1506, 1511 (11th Cir. 1995) (en banc) (quoting Rogers v. Zant, 13 F.3d 384, 386 (11th

    Cir. 1994)). Strickland v. Washington, 466 U.S. 668 (1984), governs an ineffective

    assistance of counsel claim:

           The law regarding ineffective assistance of counsel claims is well settled
           and well documented. In Strickland v. Washington, 466 U.S. 668, 104
           S. Ct. 2052, 80 L. Ed. 2d 674 (1984), the Supreme Court set forth a
           two-part test for analyzing ineffective assistance of counsel claims.
           According to Strickland, first, the defendant must show that counsel's
           performance was deficient. This requires showing that counsel made
           errors so serious that counsel was not functioning as the "counsel"
           guaranteed the defendant by the Sixth Amendment. Second, the
           defendant must show that the deficient performance prejudiced the
           defense. This requires showing that counsel's errors were so serious as
           to deprive the defendant of a fair trial, a trial whose result is reliable.
           Strickland, 466 U.S. at 687, 104 S. Ct. 2052.

    Sims v. Singletary, 155 F.3d 1297, 1305 (11th Cir. 1998).

           Strickland requires proof of both deficient performance and consequent

    prejudice. Strickland, 466 U.S. at 697 ("There is no reason for a court deciding an

    ineffective assistance claim . . . to address both components of the inquiry if the

    defendant makes an insufficient showing on one."); Sims, 155 F.3d at 1305 ("When

    applying Strickland, we are free to dispose of ineffectiveness claims on either of its two

    grounds."). "[C]ounsel is strongly presumed to have rendered adequate assistance and

    made all significant decisions in the exercise of reasonable professional judgment."

    Strickland, 466 U.S. at 690. "[A] court deciding an actual ineffectiveness claim must


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    judge the reasonableness of counsel's challenged conduct on the facts of the particular

    case, viewed as of the time of counsel's conduct." 466 U.S. at 690. Strickland requires

    that "in light of all the circumstances, the identified acts or omissions were outside the

    wide range of professionally competent assistance." 466 U.S. at 690.

           Escarria must demonstrate that counsel’s error prejudiced the defense because

    "[a]n error by counsel, even if professionally unreasonable, does not warrant setting

    aside the judgment of a criminal proceeding if the error had no effect on the judgment."

    466 U.S. at 691-92. To meet this burden, Escarria must show "a reasonable probability

    that, but for counsel's unprofessional errors, the result of the proceeding would have

    been different. A reasonable probability is a probability sufficient to undermine

    confidence in the outcome." 466 U.S. at 694.

           Strickland cautions that "strategic choices made after thorough investigation of

    law and facts relevant to plausible options are virtually unchallengeable; and strategic

    choices made after less than complete investigation are reasonable precisely to the

    extent that reasonable professional judgments support the limitations on investigation."

    466 U.S. at 690-91. Escarria cannot meet his burden merely by showing that the

    avenue chosen by counsel proved unsuccessful.

           The test has nothing to do with what the best lawyers would have done.
           Nor is the test even what most good lawyers would have done. We ask
           only whether some reasonable lawyer at the trial could have acted, in the
           circumstances, as defense counsel acted at trial . . . . We are not
           interested in grading lawyers' performances; we are interested in whether
           the adversarial process at trial, in fact, worked adequately.

    White v. Singletary, 972 F.2d 1218, 1220-21 (11th Cir. 1992). Accord Chandler v.

    United States, 218 F.3d 1305, 1313 (11th Cir. 2000) ("To state the obvious: the trial


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    lawyers, in every case, could have done something more or something different. So,

    omissions are inevitable . . . . [T]he issue is not what is possible or 'what is prudent or

    appropriate, but only what is constitutionally compelled.'") (en banc) (quoting Burger v.

    Kemp, 483 U.S. 776, 794 (1987)).

           Strickland governs also an ineffective assistance of appellate counsel claim. A

    petitioner fails to prove the deficient performance prong by showing that appellate

    counsel omitted an issue on appeal. Counsel need not raise every nonfrivolous issue.

    Jones v. Barnes, 463 U.S. 745 (1983). An appellate advocate provides effective

    assistance by winnowing out weaker claims and focusing on the appellate claims most

    likely to prevail:

           It is difficult to win a Strickland claim on the grounds that appellate counsel
           pressed the wrong legal arguments where the arguments actually pursued
           were reasonable in the circumstances. We have emphasized that even in
           a death penalty case, counsel must be "highly selective about the issues
           to be argued on appeal . . . ." United States v. Battle, 163 F.3d 1, 1 (11th
           Cir. 1998). The district court, having considered the record and [appellate
           counsel]’s testimony during the state post-conviction proceeding, found
           that [appellate counsel] had carefully considered many of the claims now
           raised in appeal, but ultimately chose to pursue the claims he felt were
           most likely to prevail and winnow out the arguments he thought were less
           persuasive.

    Johnson v. Alabama, 256 F.3d 1156, 1188 (11th Cir. 2001), cert. denied 535 U.S. 926

    (2002).

    Ground One

           Appellate counsel challenged Escarria's not receiving a safety valve sentence.

    Escarria argues that, because he does not qualify for the safety valve, appellate counsel

    was ineffective for asserting that claim. Escarria waived his right to a direct appeal and



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    the circuit court dismissed the appeal based on the waiver. Strickland requires proof of

    both deficient performance and prejudice. Escarria shows no prejudice.

    Ground Two

            Escarria alleges that he failed to understand the effect of the appellate waiver

    provision and blames trial counsel for not fully explaining the provision. Escarria's

    alleged misunderstanding is belied by the record of the plea hearing, at which Escarria

    pleaded guilty with two co-defendants.2

            The Court:      The reason that I ask you these questions is that it is the
                            government's position that once you plead guilty, based
                            upon this plea agreement, you will not be able to challenge
                            your lawyer's work for you in the sentencing aspects of this
                            case either on appeal or in any collateral proceeding or other
                            proceeding that you might try to bring to set aside your
                            sentence or finding of guilt based upon your lawyer's
                            representation and sentencing matters.

                            Do you understand that, Mr. Hurtado?

            Hurtado:3       Can you repeat?

            The Court:      Yes. There's a provision in your plea agreement that you
                            have signed, and it says that you cannot challenge your
                            lawyer's representation of you in regard to sentencing
                            issues, either on appeal where you ask another court to look
                            at what the trial court has done, or by filing another motion
                            later asking some other court to look at what your lawyer has
                            done. Once you sign this plea agreement and plead guilty,
                            you cannot challenge your lawyer's work in sentencing
                            matters.




            2
             Because one of the co-defendants expressed concern about the appeal waiver provision, the
    magistrate judge's explanation is more thorough than normal. Escarria participated in this more thorough
    explanation.
            3
                Co-defendant Hurtado-Cuero.

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                          Mr. Martinez?4

          [Counsel]:      Thank you, Your Honor. I think this is a good time for me to
                          bring this up. I was meeting with Mr. Cuero last night at the
                          jail for several hours. He signed this plea agreement
                          January the 21st. He has already completed substantial
                          cooperation with the agents in this case, okay. I went to go
                          see him yesterday because he was concerned about the
                          appeal waiver. Someone in the jail made him concerned
                          about that provision in the plea agreement. When he came
                          out—when the marshals brought him out today, he told me
                          that he no longer wanted to plead guilty pursuant to the plea
                          agreement, but wanted to enter an open plea to the Court.
                          This, in my estimation as his counsel, would be a grave error
                          because he has already earned a substantial—according to
                          the government—a substantial reduction of his sentence
                          predicated upon his assistance which he's not going to be
                          entitled to if he persists in proceeding this way.

                          I've talked to the government, and I understand that there is
                          another group that will be pleading on the 27th. Even
                          though he's instructed me that he wants to plead open, I feel
                          uncomfortable in permitting him to do that until I could have
                          a chance to talk to him some more. I would ask the Court if
                          we could place his case on the calendar for the 27th so that I
                          might speak to him some more about this decision of his.

          The Court:      Mr. Hurtado, sir, you have some concerns about pleading
                          guilty on the plea agreement at this time?

          Hurtado:        Not the pleading guilty.

          The Court:      I mean pleading guilty on the plea agreement. Because the
                          plea agreement requires you to give up your right to appeal.
                          And so since we're on this issue, let's go ahead and talk
                          about it and then you can decide what you want to do.

                          If you look at page 10 of the plea agreement—and I don't
                          expect that you read English, but on page 10 of this plea
                          agreement, there is a provision and this is as to all of the
                          defendants. And this provision says that you are giving up
                          your right to appeal or to collaterally challenge your sentence

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              Defense counsel for co-defendant Hurtado-Cuero.

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                          in this case when you sign and agree to plead guilty. In a
                          typical case, when a defendant is charged and convicted
                          after a jury trial, or when a defendant pleads guilty without a
                          plea agreement, he or she enters a so-called open plea.
                          That defendant keeps the right to challenge the sentence in
                          a higher court. In our case it goes to what we call the
                          Eleventh Circuit Court of Appeals. There will at that point be
                          a three-judge panel who will look at what the trial judge has
                          done regarding guilt and sentencing. And those judges can
                          say that the judge in the trial court did everything correctly or
                          they can say that things weren't done properly.

                          This plea agreement severely limits your ability to make any
                          such challenge. The only time in which you can challenge
                          your sentence on appeal are for the reasons that are in the
                          plea agreement.

                          Do you understand me so far? Mr. Hurtado?

          Hurtado:        Yes.

          The Court:      Mr. Escarria?

          Escarria:       Yes.

          The Court:      And Mr. Estrada?

          Estrada:5       Yes.

          The Court:      Okay. Now the times when you are permitted to file an
                          appeal are as follows. First if the Court were to sentence
                          you to a sentence above the guideline maximum as the
                          Court determines the guidelines to be; or two, if the sentence
                          exceeds the statutory maximum penalty; or three, if the
                          sentence violates the Eighth Amendment to the United
                          States Constitution, which protects defendants against cruel
                          and unusual punishment; or four, if the government for some
                          reason were dissatisfied with your sentence and sought to
                          appeal, then you could file a cross appeal.

                          But those are the only instances in which you can file an
                          appeal. If you attempt to file an appeal for any other reason,

          5
              Co-defendant Estrada-Obregon.

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                       it is very likely that the appeals court will reject your appeal
                       without even looking at whether it has any underlying merit
                       because you have given up your right to file an appeal for
                       any reason other than the ones that are in the plea
                       agreement.

                       Do you understand that? Mr. Hurtado?

          Hurtado:     Yes.

          The Court:   Mr. Escarria?

          Escarria:    Yes.

          The Court:   Mr. Estrada?

          Estrada:     Yes.

          The Court:   Now you have to keep in mind that the plea agreement
                       offers you some benefits. And the waivers are giving up
                       your right to appeal or to collaterally challenge your sentence
                       is one of the things that you are giving up in exchange for
                       those other benefits.

                       Do you understand that? Mr. Hurtado?

          Hurtado:     Can you repeat that again?

          The Court:   Yes, sir. The plea agreement offers you certain benefits.
                       And we're going to go over those benefits in a few moments.
                       This appeal waiver and waiver of your right to challenge your
                       sentence collaterally are things that you are giving up in
                       exchange for the other benefits that are offered to you in the
                       plea agreement.

                       Do you understand that?

          Hurtado:     Yes.

          The Court:   Mr. Escarria?

          Escarria:    Yes.




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     Transcript of Plea Hearing at 11-17 (Doc. 178). Escarria represented that he fully

     understood the appeal waiver. The colloquy ensured that Escarria understood the

     significance of the appeal waiver, a provision that the circuit court enforced on direct

     appeal. See Williams v. United States, 396 F.3d 1340, 1342 (11th Cir.) ("[A]t the plea

     colloquy, the court specifically questioned Williams concerning the specifics of the

     sentence-appeal waiver and determined that he had entered into the written plea

     agreement, which included the appeal waiver, knowingly and voluntarily."), cert. denied

     546 U.S. 902 (2005). The record belies Escarria's alleged misunderstanding because

     he represented under oath that he understood the significance of the appeal waiver.

            Accordingly, the motion to vacate pursuant to 28 U.S.C. § 2255 (Doc. 1) is

     DENIED. The clerk shall enter a judgment against Escarria and close this case.

            ORDERED in Tampa, Florida, on October 4, 2010.




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